Case 2:18-cv-04802-AG-DFM Document 18-2 Filed 02/28/19 Page 1 of 9 Page ID #:238




            EXHIBIT 2
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page12ofof89 Page
                                                                       PageIDID#:751
                                                                                #:239




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                         January 7, 2019
  Title       ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
              ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
              AUERBACH ET AL.




  Present: The Honorable       ANDREW J. GUILFORD
            Lisa Bredahl                         Not Present
            Deputy Clerk                  Court Reporter / Recorder           Tape No.
        Attorneys Present for Plaintiffs:            Attorneys Present for Defendants:

  Proceedings:          [IN CHAMBERS] ORDER GRANTING MOTION FOR
                        FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                        (DKT. 26)

 The proposed settlement in this matter resolves the claims pending in four related stockholder
 derivative actions brought on behalf of Puma Biotechnology. The Court GRANTS Plaintiff’s
 unopposed motion for final approval of this derivative settlement. (Dkt. 26.)

 1. BACKGROUND

 Puma is a biopharmaceutical company that developed and marketed a breast cancer treatment
 drug called NERLYNX (“neratinib”). Plaintiffs’ derivative claims are based on Puma’s
 allegedly false and misleading statements about neratinib’s safety and efficacy. Plaintiff
 Rommerswael, a Puma stockholder, alleges that in July 2014 Puma executives became aware
 of poor results from the ExteNET clinical trial. (Compl. Dkt. 1 at ¶ 5.) Among other things,
 nearly 40% of trial participants experienced grade 3 or 4 diarrhea, and the disease-free survival
 (DFS) rate was only 2.3% higher for the neratinib group than for the placebo group. (Id.) But
 in a press release after the trial results, Puma CEO Alan Auerbach reported a 33%
 improvement in the DFS rate and low patient drop-out rates. (Id. at ¶¶ 6-7.) Plaintiff alleges
 these statements were contrary to the facts on hand.

 After investigating the alleged wrongdoing and sending a litigation demand letter to the Puma
 Board, which the Board rejected, Plaintiff filed this lawsuit in February 2018. He alleges that

                                      CIVIL MINUTES – GENERAL
                                              Page 1 of 8

                                                                                              EXHIBIT 2
                                                                                               Page 74
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page23ofof89 Page
                                                                       PageIDID#:752
                                                                                #:240




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                        January 7, 2019
  Title        ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
               ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
               AUERBACH ET AL.


 Puma’s Board of Directors issued misleading Proxy Statements and thus incurred major
 financial and legal risks for Puma. He brought stockholder derivative claims against Puma’s
 CEO, Senior VP, and five other directors for violation of the Securities Exchange Act (15
 U.S.C. § 78 et seq.), breach of fiduciary duty, and waste of corporate assets. Three other
 stockholders filed similar derivative actions in state and federal court. The proposed
 settlement resolves all of these actions. Another related case was filed in this Court by Puma
 investors and is set for trial on January 15, 2019. See Hsu v. Puma Biotechnology, Inc., No.
 8:15cv00865-AG-SHK.

 The parties have reached a global settlement on the four derivative lawsuits. This Court
 granted Plaintiff’s unopposed motion for preliminary approval of the settlement on
 November 5, 2018. (Dkt. 23.) Plaintiff has now filed a motion for final settlement approval
 (Dkt. 27), and Defendants have filed a statement of non-opposition (Dkt. 29.) As of the date
 of Plaintiff’s filing, no objections had been received. (Rifkin Decl. ¶ 18.)

 2. PROPOSED SETTLEMENT

          2.1 Negotiations
 Considering recent, positive developments and momentum at Puma, plaintiffs Arnaud van der
 Gracht de Rommerswael, Paul Duran, Xing Xie, and Kevin McKenney (from four different
 cases) believe an early resolution of the derivative claims to be in Puma’s best interests. See
 Stipulation (Dkt. 17-1, “Stip.”) at 5. Plaintiffs issued settlement demands in February and
 April this year and negotiated with Defendants for several months to accomplish a global
 settlement. (Motion for Final Settlement Approval (Dkt. 26, “Mot.”) at 10.) With the aid of a
 private mediator, Gregory P. Lindstrom, the parties reached a settlement (“Settlement”) to
 resolve the four related derivative actions. (Mot. at 11.)

 After agreeing on the substantive elements, the parties separately negotiated and came to
 agreement on Plaintiffs’ counsel’s fees and expenses. (Stip. § I.D.) They then prepared a joint
 stipulation setting forth the terms of settlement. Puma, acting through its independent, non-


                                      CIVIL MINUTES – GENERAL
                                              Page 2 of 8

                                                                                             EXHIBIT 2
                                                                                              Page 75
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page34ofof89 Page
                                                                       PageIDID#:753
                                                                                #:241




                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                        January 7, 2019
  Title        ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
               ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
               AUERBACH ET AL.


 defendant directors, reviewed the allegations and settlement terms and concluded the
 Settlement was in the company’s best interests. (Id. ¶ 2.1.)

          2.2 Terms
 The Settlement requires the following corporate governance reforms, among others:

    • Appointment of one new Independent Director to the Board;
    • Stockholder input for the new Independent Director and future director nominees;
    • Requirement that two-thirds of the directors must satisfy heightened independence
      standards;
    • Creation of Board-level Research and Development Committee to oversee product
      pipeline efforts and R&D efforts (including those regarding clinical trials) and to
      review and pre-approve material public disclosures;
    • Formal continuing education programs for directors;
    • Director stock ownership requirements;
    • Annual assessments of Puma’s financial reporting and disclosures by management and
      the Audit Committee;
    • Requirement that the Audit Committee annually review disclosures and inform the
      Board of any material suspected errors in the books and report to the Board if Puma
      appears to have insufficient liquidity. (Stip., Ex. A.)

          2.3 Releases
 All four related stockholder derivative actions are to be dismissed with prejudice. (Id. at 9.)
 The Plaintiffs (individually and on Puma’s behalf), Plaintiffs’ counsel, and Puma release all
 derivative claims connected to the defense, settlement, or resolution of the federal and state
 actions against the Defendants, Puma, and certain Related Persons. (Id. at 17, 18.) The
 stipulation purports to release claims by “Applicable Puma Shareholders,” meaning any
 persons who owned Puma common stock on the date of the stipulation and continue to hold
 it at the settlement hearing, with some exclusions. (Id. at 9.)

                                     CIVIL MINUTES – GENERAL
                                             Page 3 of 8

                                                                                             EXHIBIT 2
                                                                                              Page 76
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page45ofof89 Page
                                                                       PageIDID#:754
                                                                                #:242




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                          January 7, 2019
  Title        ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
               ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
               AUERBACH ET AL.


          2.4 Attorney’s Fees and Service Awards
 The Settlement provides that the Individual Defendants must cause their insurers to pay
 Plaintiffs’ counsel $1,175,000 for attorney’s fees and expenses within 10 days of entry of
 judgment. (Stip. § 4.1.) Plaintiffs explain that this amount was negotiated after the material
 terms of the Settlement were agreed upon and with the mediator’s assistance. (Mot., 8.)
 Plaintiffs also request that the Court approve $1,500 service awards for each named plaintiff,
 to be paid only upon Court approval. (Stip. § 4.2.) These awards are to be deducted from the
 attorney’s fees amount. (Mot. 30.)

 3. LEGAL STANDARD

 Courts may only approve a settlement agreement that is “fair, reasonable, and adequate.” Fed.
 R. Civ. P. 23(e)(2). Review of a proposed settlement generally involves two separate hearings.
 Federal Judicial Center, Manual for Complex Litigation, § 21.632 (4th ed. 2004). First the
 court makes a preliminary fairness evaluation. Id. It then holds a final approval hearing,
 where it “takes a closer look at the proposed settlement, taking into consideration objections
 and any other further developments in order to make a final fairness determination.” True v.
 Am. Honda Motor Co., 749 F. Supp. 2d 1052, 1062 (C.D. Cal. 2010).

 To determine whether a settlement agreement is fair, reasonable, and adequate, courts must
 consider various factors, including (1) the strength of plaintiffs’ case; (2) the risk, expense,
 complexity, and likely duration of further litigation; (3) the risk of maintaining class action
 status throughout the trial; (4) the amount offered in settlement; (5) the extent of discovery
 completed, and the stage of the proceedings; (6) the experience and views of counsel; (7) the
 presence of a governmental participant; and (8) the reaction of the class members to the
 proposed settlement. Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2003) (citation omitted).
 “This is by no means an exhaustive list of relevant considerations.” Officers for Justice v. Civil
 Serv. Comm’n of City & Cty. of San Francisco, 688 F.2d 615, 625 (9th Cir. 1982). “The relative
 degree of importance to be attached to any particular factor will depend upon and be dictated
 by the nature of the claim(s) advanced, the type(s) of relief sought, and the unique facts and
 circumstances presented by each individual case.” Id. “It is the settlement taken as a whole,
                                       CIVIL MINUTES – GENERAL
                                               Page 4 of 8

                                                                                               EXHIBIT 2
                                                                                                Page 77
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page56ofof89 Page
                                                                       PageIDID#:755
                                                                                #:243




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                          January 7, 2019
  Title       ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
              ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
              AUERBACH ET AL.


 rather than the individual component parts, that must be examined for overall fairness, and
 the settlement must stand or fall in its entirety.” Staton, 327 F.3d at 960 (quoting Hanlon v.
 Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)).

 “[T]he decision to approve or reject a settlement is committed to the sound discretion of the
 trial judge.” Hanlon, 150 F.3d at 1026. And “[s]trong judicial policy favors
 settlements.” Churchill Vill., LLC. v. Gen. Elec., 361 F.3d 566, 576 (9th Cir. 2004) (omission
 and quotation marks omitted) (quoting Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th
 Cir. 1992).

 4. ANALYSIS
 Considering the benefit to Puma stockholders, arms-length negotiations before a qualified
 mediator, cost and risk of continued litigation in four separate derivative actions, and other
 factors from Staton, the Court grants final approval of the proposed Settlement.

          4.1 Benefits to Puma
 The Settlement requires the Board of Directors to undertake reforms that confer significant
 benefits on Puma stockholders, though not pecuniary in nature. See above, Section 2. Courts
 recognize that “a corporation may receive a ‘substantial benefit’ from a derivative suit . . .
 regardless of whether the benefit is pecuniary in nature.” Mills v. Elec. Auto-Lite Co., 396 U.S.
 375, 395 (1970). See also Lewis v. Anderson, 692 F.2d 1267, 1271 (9th Cir. 1982) (“While less
 tangible than recovery of money damages,” corporate governance reforms that remedy alleged
 wrongdoing are “sufficiently beneficial to a corporation” to warrant settlement approval and
 fee award.”)

 Here, the reforms provide for more oversight over the Company’s public disclosures, which
 are the key issue in these related lawsuits, and they provide for a more independent Board and
 tighter internal controls. For example, the appointment of a new Independent Director will
 help diffuse control of the Board by insiders with separate interests from those of Puma
 stockholders. (Mot., 14-15) Also, the new requirement that Puma nonemployee directors own
 at least 10,000 shares of common stock will better align the directors’ and stockholders’
                                       CIVIL MINUTES – GENERAL
                                               Page 5 of 8

                                                                                                EXHIBIT 2
                                                                                                 Page 78
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page67ofof89 Page
                                                                       PageIDID#:756
                                                                                #:244




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                            January 7, 2019
  Title       ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
              ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
              AUERBACH ET AL.


 interests. (Id., 15) And the creation of an R & D Committee will ensure oversight of Puma’s
 clinical trials and development risks and is designed to avoid exactly the sort of problems that
 led to the current litigation. (Id., 16.) The mediator who guided the parties through settlement
 negotiations submitted a declaration affirming the fairness of the final agreement, stating that
 it represents “an excellent result for Puma and its shareholders . . . [that is] carefully tailored to
 address the alleged wrongdoing . . . .” (Lindstrom Decl. ¶ 9.)

          4.2 Informed, Arms-Length Negotiations
 The Settlement was the product of arms-length negotiations between experienced and well-
 informed counsel. A “strong presumption of fairness” thus attaches to the Settlement. See In re
 American Apparel, Inc. Shareholder Litig., No. CV 10-06352 MMM (JCGx) 2014 WL 10212865, at
 *8 (C.D. Cal. Jul. 28, 2014). Plaintiffs did extensive document review, exchanged initial
 settlement demands with Defendants, and participated in months of telephonic and written
 negotiations and mediation. (Rifkin Decl. ¶ 45.) Plaintiffs thus had enough information to
 properly evaluate the claims and defenses and pursue settlement. (Id. ¶ 43.) The independent,
 non-defendant directors of Puma also reviewed the Settlement and found it to be in the
 company’s best interests. All of this weighs in favor of approval.

          4.3 Fee Award
 Regarding Plaintiffs’ counsels’ fee award of $1,175,000, Plaintiffs explain that filing these
 lawsuits required extensive investigation, research, and review, including: reviewing Puma’s
 press releases, public statements, SEC filings, and securities analysts’ reports; researching
 applicable law regarding claims and defenses; reviewing Puma’s documents produced in a
 related action; preparing and responding to correspondence and settlement demands; and
 drafting comprehensive corporate governance reforms. (Rifkin Decl. at ¶¶ 54, 58, 60.) And
 they point to other cases where counsel received a similar award for achieving corporate
 governance reform. See Mot., 25-26. See also In re Google Inc. S’holder Derivative Litig., No. CV-11-
 0448-PJH, 2015 WL 2877899, at *5 (awarding $9.2 million fee based on benefit of corporate
 governance reforms).


                                        CIVIL MINUTES – GENERAL
                                                Page 6 of 8

                                                                                                  EXHIBIT 2
                                                                                                   Page 79
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page78ofof89 Page
                                                                       PageIDID#:757
                                                                                #:245




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                          January 7, 2019
  Title        ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
               ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
               AUERBACH ET AL.


 A lodestar cross-check also supports the fairness of the fee and expense amount. See, e.g.,
 Vizcaino v. Microsoft Corp., 290 F.3d 1043, (9th Cir. 2002). Plaintiffs’ counsel spent over 1,260
 hours on these four actions and provided a lodestar amount of $666,357.25. (Rifkin Decl. ¶
 54.) After adding unreimbursed litigation costs, they calculate the lodestar multiplier to be
 1.76. (Id. ¶ 56.) Given the contingent nature of the representation and substantial benefits
 conferred on Puma, this multiplier is within the reasonable range. See, e.g., In Re Hewlett Packard
 Co. Securities Litig., No. CV-11-01494-AG, Reporter’s Transcript of Motion Hearing (C.D. Cal.
 Dec. 10, 2014). Finally, after extensive questioning and discussion at the fairness hearing,
 Plaintiffs’ counsel provided strong support for their fee calculation. Plaintiffs’ counsel backed
 up their request with reference to case law, the particular difficulties of this case, and a
 description of the unique benefits achieved on Puma’s behalf, among other things.

          4.4 Risk and Cost of Litigation
 Courts agree that derivative actions are particularly complex and “rarely successful.” In re Pac.
 Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995). Derivative action plaintiffs must satisfy
 strict pleading requirements to show that a presuit demand was wrongfully refused by the
 board, or that making such a demand would have been futile. (Rifkin Decl. ¶ 35.) Derivative
 actions also entail extensive discovery and costly expert reports. (Id. ¶ 36.) So the risk and cost
 to Plaintiffs of continuing to litigate on multiple fronts is substantial. Early settlement is thus
 the best way to achieve the corporate reforms sought without incurring inordinate fees and
 making bilateral agreement increasingly unlikely.

          4.5 Notice and Objections

 The Court approved the content of class notice and dissemination methods at the preliminary
 approval stage. Counsel have since complied with the Court’s directions regarding notice. See
 Declaration of Ryan E. Blair Re: Filing and Publishing Notice (Dkt. 25). As of the date of
 Plaintiffs’ motion for final approval, no objections had been received. (Rifkin Decl. ¶ 18.)




                                       CIVIL MINUTES – GENERAL
                                               Page 7 of 8

                                                                                                EXHIBIT 2
                                                                                                 Page 80
Case
 Case2:18-cv-04802-AG-DFM
      8:18-cv-00236-AG-JCG Document
                            Document18-2 Filed01/07/19
                                     32 Filed  02/28/19 Page
                                                         Page89ofof89 Page
                                                                       PageIDID#:758
                                                                                #:246




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA


                        CIVIL MINUTES – GENERAL
  Case No. SACV 18-00236 AG (JCGx)            Date                            January 7, 2019
  Title       ARNAUD VAN DER GRACHT DE ROMMERSWAEL, DERIVATIVELY
              ON BEHALF OF PUMA BIOTECHNOLOGY, INC. v. ALAN
              AUERBACH ET AL.


 5. DISPOSITION

 The Court finds the Settlement to be fair, reasonable, and adequate to those whom it is
 intended to benefit. See Officers for Justice, 688 F.2d at 625. The Court GRANTS Plaintiff’s
 unopposed motion for final approval of the derivative settlement. (Dkt. 26.) The Court
 APPROVES the $1,175,000 attorney’s fees and expenses amount and the $1,500 service
 awards for each named plaintiff (to be deducted from the fee award).

                                                                                            :   0
                                                       Initials of Preparer       lmb




                                      CIVIL MINUTES – GENERAL
                                              Page 8 of 8

                                                                                                EXHIBIT 2
                                                                                                 Page 81
